                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION

IMPLICIT, LLC,                   §
                                 §
     Plaintiff,                  §
                                 §      Civil Action No. 2:18-cv-53-JRG
v.                               §                LEAD CASE
                                 §
NETSCOUT SYTEMS, INC.,           §        JURY TRIAL DEMANDED
                                 §
     Defendant.                  §

                       PLAINTIFF IMPLICIT, LLC’S
                         NOTICE OF CONFLICT
       Pursuant to the Court’s Docket Control Order entered on May 21, 2019 (Dkt. 126, last

amended as Dkt. 139), a jury trial in this case is set for December 9, 2019. Plaintiff Implicit, LLC

(“Implicit”) hereby provides notice to the Court and all parties that its technical expert

(infringement and validity), Dr. Kevin C. Almeroth, has a conflict that week because it is expected

that he will appear and testify the week of December 9, 2019 in the case of Sony Music

Entertainment v. Cox Communications, Inc., 1:18-CV-00950-LO-JFA (E.D. Va.). On June 21,

2019, the Court in that case set it for trial beginning on December 2, 2019. It is expected that Dr.

Almeroth, as a technical expert for Defendants in the Sony case, is expected to be at trial the week

of December 2, 2019 and will be scheduled to testify the week of December 9, 2019. A copy of

the order setting the case for trial on December 2, 2019 is attached as Exhibit A. Plaintiff recently

became aware of the conflict and has tried to resolve Dr. Almeroth’s conflict but has not been able

to do so.



 Dated: November 5, 2019                  Respectfully submitted,

                                          By: /s/Christian J. Hurt
                                              Christian J. Hurt

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                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document is being filed electronically in

compliance with Local Rule CV-5(a). As such, this document is being served on all counsel who

are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(V). Pursuant to

Federal Rule of Civil Procedure 5(d) and Local Rule CV-5(d) and (e), any counsel of record not

deemed to have consented to electronic service will be served with a true and correct copy of the

foregoing by email on this 5th day of November, 2019.

                                                    /s/Christian J. Hurt
                                                    Christian J. Hurt




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